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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Case No. 20 — 11889

 

 

DR. SHIVA AYYADURAI,
The Plaintiff,

Vv.

WILLIAM FRANCIS GALVIN, in his official capacity
as the Secretary of the Commonwealth of Massachusetts,
The Defendant.

 

 

VERIFIED COMPLAINT & JURY DEMAND

 

Introduction

This is a Complaint to redress the Commonwealth of Massachusetts’ repeated
violations of Plaintiff Dr. Shiva Ayyadurai’s civil rights guaranteed by the First
Amendment to the United States Constitution and Article 16 of the Declaration of Rights
of the Constitution of the Commonwealth of Massachusetts.

This Complaint stems from actions that the Office of the Secretary of the
Commonwealth took on or around September 26, 2020, to suppress Dr. Shiva
Ayyadurai’s speech—specifically, the tweets that he posted on his Twitter account—that
were critical of the Secretary of the Commonwealth’s Election Division in the handling
of the 2020 Massachusetts primary election. The Commonwealth caused Twitter to
suspend Dr. Ayyadurai’s Twitter account for a total of approximately 14 days in the

midst of his campaign for the United States Senate.
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The Commonwealth’s actions violated Dr. Ayyadurai’s constitutionally-
guaranteed rights to freedom of speech, the press, and to petition the government for a
redress of grievances.

PARTIES

1. Dr. Shiva Ayyadurai (the “Plaintiff’) is a scientist, engineer, inventor, educator,
author, and entrepreneur. He is currently a candidate for the United States Senate in
Massachusetts. His offices are located at: 701 Concord Avenue, Cambridge,
Massachusetts 02138.

2. William Francis Galvin (the “Secretary”) is the Secretary of the Commonwealth of
Massachusetts, with an office at: One Ashburton Place, 17" Floor, in Boston,
Massachusetts 02108.

JURISDICTION & VENUE

3. This Court has subject-matter jurisdiction over this matter under 28 U.S.C. §1331 &
§1343 because this action raises claims under the First Amendment of the U.S.
Constitution, and 42 U.S.C §1983, as the Defendant acted under the color-of-law
when he violated the Plaintiff's rights to freedom of speech, freedom of the press, and
freedom to petition, inter alia.

4. Venue is proper in the United States District Court for the District of Massachusetts
pursuant to 28 U.S.C. §§1391(b)(1) & (2) because this Court is seated in a District in
which the Defendant holds his main office, exercises his authority in his official
capacity, and has violated the constitutional rights that are the subject of this lawsuit.
Moreover, the Plaintiff resides in the District, and this is the location where the

Plaintiff suffered his injuries as a result of the Defendant’s violations.
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FACTUAL ALLEGATIONS

5. Dr. Shiva Ayyadurai was born in 1963 into India’s oppressive caste system as a low-
caste untouchable. The oppressive conditions and the corrupt system of Indian
governance motivated his parents to immigrate to the United States in 1970 to seek
greater freedom and opportunities for themselves and their children.

6. Dr. Shiva Ayyadurai earned four degrees from the Massachusetts Institute of
Technology (M.I.T.). He holds a bachelor’s degree in Electrical Engineering and
Computer Science; a master’s degree in Mechanical Engineering; a master’s degree
in Visual Studies; and a doctoral degree in Biological Engineering.

7. Dr. Ayyadurai is a Westinghouse Honors Award recipient; member of research and
engineering academic honor societies, including Eta Kappa Nu, Sigma Xi, and Tau
Beta Pi; a Fulbright Scholar; Lemelson-MIT Awards Finalist; nominee for the
National Medal of Technology and Innovation; the First Outstanding
Scientist/Technologist of Indian Origin.

8. Dr. Ayyadurai is a scientist, engineer, inventor, educator, author, and entrepreneur,
whose works—including startup companies, lectures and books, inventions,
publications and patents—span the fields of art, science, technology, medicine, and
politics.

9. Asan educator, Dr. Ayyadurai has developed new curricula; has taught courses at
undergraduate and graduate level at universities such as M.I.T., and has been invited
to deliver lectures and talks at leading institutions throughout the world.

10. Modern electronic and digital platforms including email, social media, and video are

critical to the success and growth of Dr. Ayyadurai’s scientific, technological,
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entrepreneurial, educational, and political endeavors, be it for his technology
companies such as CytoSolve, Inc. and EchoMail, Inc.; or for his educational
institutes including Systems Health, LLC and the International Center for Integrative
Systems, a 501(c)(3) research and educational organization; and, for his political
activities including activism for various social and political causes, as well as for his
candidacy for U.S. Senate in Massachusetts.

In August of 2011, Dr. Ayyadurai opened his Twitter account with the handle
@va_shiva to build and reach local, national, and global audiences to support his
aforementioned endeavors.

During August of 2011 to September 25, 2020, Dr. Ayyadurai published
approximately 30,000 “tweets”—or posts—on Twitter.

Upon information and belief, during August of 2011 to September 25, 2020, Dr.
Ayyadurai had neither been suspended from Twitter nor had Twitter ever forced him
to remove any of his approximately 30,000 tweets.

Dr. Ayyadurai’s tweets included the use of text, images, and videos, with content
spanning the areas of science, medicine, education, politics, technology, and
innovation.

During the period of August 2011 to September 25, 2020, due to Dr. Ayyadurai’s
hard work and consistent publication of content on Twitter, his Twitter followers
grew from zero to over quarter million.

In February of 2017, Dr. Ayyadurai announced his candidacy for U.S. Senate against
incumbent Democrat Senator Elizabeth Warren, where he ran as an Unenrolled,

“Independent” candidate in the 2018 Massachusetts U.S. Senate general elections.
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In January of 2019, Dr. Ayyadurai announced his candidacy for U.S. Senate against
incumbent Senator Ed Markey, where he ran, and is running, as a Republican
candidate in the 2020 Massachusetts U.S. Senate general elections.

During January 2019 to September 1, 2020, Dr. Ayyadurai and his campaign for U.S.
Senate organized approximately 3,100 volunteers; distributed approximately 10,000
lawn signs and 20,000 bumper stickers; and raised approximately 20,000 donations
that were used to fund major billboards on highways, advertisements on social media,
radio and network television, making “Dr.SHIVA” a household name across
Massachusetts.

On the evening of September 1, 2020, Dr. Ayyadurai came to find out that he had lost
the 2020 Massachusetts Republican primary U.S. Senate race to an opponent who had
little to no visibility, a handful of volunteers, and no real campaign organization.

Dr. Ayyadurai did win in Franklin County in the 2020 Massachusetts Republican
primary election by nearly 10%, where the ballots were mainly hand-counted;
however, he lost 60% to 40% in every other county where the ballots were mainly
machine-counted using electronic software that tabulated vote counts using ballot
images.

On or around September 4, 2020, Dr. Ayyadurai’s volunteers issued Freedom of
Information Act (FOIA) requests to approximately fifteen (15) cities/towns
requesting: (a) the participating voters lists for each city/town, those being the names
of all voters who voted in the 2020 Massachusetts primary elections; and (b) the

tabulation or counts of the actual votes cast.
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On September 9, 2020, Dr. Ayyadurai issued a Freedom of Information Act (FOIA)
request to the Massachusetts Secretary of State’s office requesting among other things
ballot images, log files, and voting records concerning the 2020 Massachusetts
primary elections.

On September 9, 2020, an election official at the Secretary of State’s office stated in
person to Dr. Ayyadurai, as documented on video, that the Secretary of State had “no
ballot images” and the feature for saving “ballot images were turned off,” and stated
that his office would be sending Dr. Ayyadurai a formal response via email.

On or around September 20, 2020, Dr. Ayyadurai and his volunteers, after receiving
data from seven (7) of the fourteen (14) towns/cities pursuant to FOIA, discovered in
every one of those seven (7) towns/cities that there were more votes than voters. For
example, Boston had approximately 4,100 more votes than voters; Newton had
approximately 1,700 more votes than voters.

On September 24, 2020, Michelle Tassinari, legal counsel to the Secretary of State’s
Elections Division, sent Dr. Ayyadurai an email stating that Massachusetts was
prohibited from saving ballot images, to which Dr. Ayyadurai requested, via email,
the Massachusetts law or statute documenting such prohibition.

On September 25, 2020, Michelle Tassinari wrote another email to Dr. Ayyadurai
stating that the paper ballots were saved but that ballot images were “not stored,” to
which Dr. Ayyadurai responded, via email, reiterating his request for the
Massachusetts law or statute allowing the Commonwealth the right to destroy—not

store—ballot images, and in that email Dr. Ayyadurai stated emphatically that the
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Commonwealth had violated Federal Law by not saving ballot images, as any records
generated in connection with a Federal election had to be saved for 22 months.

Upon information and belief, as of September 25, 2020, Dr. Ayyadurai had neither
been suspended nor forced to remove any tweets by Twitter.

On September 25, 2020, Dr. Ayyadurai published tweets sharing his email
conversation with Ms. Tassinari; irregularities he observed concerning the tabulation
of electronic ballots; the fact that ballot images were destroyed—“not stored”—
during or after 2020 Massachusetts primary election; and the data in his possession
showing that there were more votes than voters in the seven (7) cities/towns for which
his campaign had received information from FOIA requests. These Twitter posts
contained information that was accurate to the best of Dr. Ayyadurai’s knowledge
and understanding; and, these posts were indeed accurate.

On September 26, 2020, Dr. Ayyadurai was forced to remove the first of
approximately four tweets, and his Twitter account was suspended.

Upon information and belief, prior to September 26, 2020, Dr. Ayyadurai had neither
been forced to remove tweets nor had he ever been suspended from Twitter. Upon
information and belief, September 26, 2020, was the first time he had ever been
forced to remove tweets, and it was the first time that he had ever been suspended on
Twitter, over his nearly 10-year tenure on Twitter across his approximately 30,000

tweets.
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On or around September 25, 2020, Debra O’Malley, a spokeswoman for the Secretary
of the Commonwealth of Massachusetts, admitted that her office had notified Twitter
to suppress Dr. Ayyadurai’s Twitter account.!

When the Secretary of the Commonwealth sought to suppress Dr. Ayyadurai’s
speech, Dr. Ayyadurai was a candidate for U.S. Senate (and is currently still in the
race for U.S. Senate).

After the Secretary of the Commonwealth’s notification, Dr. Ayyadurai was forced to
remove no fewer than seven of his posts.

After the Secretary of the Commonwealth’s notification, Dr. Ayyadurai was
suspended from Twitter for a total of approximately 14 days.

The Secretary of the Commonwealth effectively silenced Dr. Ayyadurai’s Twitter
presence during approximately 14 days of the remaining 40 days leading up to the
federal election of November of 2020.

As a result of the Commonwealth’s actions, Dr. Ayyadurai seeks compensation for
the unlawful deprivation of his constitutionally-guaranteed rights—his right to free
speech, the press, to petition, and to peaceably assemble—as guaranteed to all United
States residents by the First Amendment of the United States Constitution and to all
Massachusetts residents by Article 16 of the Declaration of Rights of the
Massachusetts Constitution, for having been effectively silenced by the

Commonwealth, and for having been deprived of valuable and essential campaign

 

' Lead Stories Article, by Eric Ferkenhoff: “Ayyadurai’s Claim that Massachusetts Destroyed Over 1
Million Ballots in Republican Primary is NOT True” (Sep. 28, 2020): https://leadstories.com/hoax-
alert/2020/09/fact-check-shiva-ayyadurais-claim-that-massachussetts-election-officials-destroyed-over- |-
million-republican-primary-ballots-is-not-true.html
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influence for approximately 14 days in the approximately 40 dates of the race for the

USS. Senate seat.

37. As a result of having his rights stripped from him by the Commonwealth, the Plaintiff

suffered damages, including, but not limited to:

a.

b.

The loss of his constitutionally-guaranteed right to Free Speech;

The loss of his constitutionally-guaranteed right to the Press;

The loss of his constitutionally-guaranteed right to Petition the Government
for a Redress of Grievances;

The loss of his constitutionally-guaranteed right to Peaceably Assemble; and
The loss of essential time and means to campaign during his race for the 2020

U.S. Senate seat.

38. Title 42 U.S.C. §1983 holds that: “Every person who, under color of any statute [or]

ordinance...subjects, or causes to be subjected, any citizen of the Unites States...to

the deprivation of any rights, privileges, or immunities secured by the Constitution

and laws, shall be liable to the party injured in an action at law.”

39. Article 16 of the Massachusetts Declaration of Rights states: “The liberty of the press

is essential to the security of freedom in a state: it ought not, therefore, to be

restrained in this commonwealth.”

40. Now therefore, the Plaintiff is seeking compensation for his loss of liberty in the

amount of $1,200,000,000 ($1.2 Billion), on the below-referenced grounds.
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COUNT I
Violations of the Freedom of Speech or Expression

41. The Plaintiff incorporates by reference the paragraphs set forth above, and alleges the
same as if originally set forth herein.

42. The First Amendment states, in relevant part: “Congress shall make no
law...abridging the freedom of speech.”

43. The Fourteenth Amendment states, in relevant part: “[N]Jor shall any State deprive
any person of life, liberty, or property, without due process of law; nor deny to any
person within its jurisdiction the equal protection of the laws.”

44, “Broad prophylactic rules in the area of free expression are suspect. Precision of
regelation must be the touchstone in an area so closely touching our most precious
freedoms.” Riley v. National Federation of Blind, 487 U.S. 781 (1988); citing
NAACP vy. Button, 371 U.S. 415, 438 (1963).

45. The Defendant effectively silenced the Plaintiff by bidding Twitter to silence the
Plaintiff.

46. The First Amendment prohibits the states from restricting speech because of its
message, its ideas, its subject-matter, or its content, and such content-based
restrictions are presumptively unconstitutional, and are justified only if the
government proves that they are narrowly tailored to serve only a compelling state
interest.

47. Here, as above-cited, there are no “compelling state interests,” as defined by the law,
as the Defendant was merely silencing the Plaintiff because the Defendant disagreed

with the Plaintiff's posts.

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48. Importantly, even if the Plaintiff's posts contained incorrect information—and the
Plaintiff maintains that his posts was based on sound evidence—the Defendant had no
legal right to bid Twitter to silence the Plaintiff.

49. Pursuant to 42 U.S.C., §§1983 & 1988, the Plaintiff is entitled to judgment as the
Defendants violated his constitutionally-guaranteed rights.

50. The Plaintiff found it necessary to engage the services of private counsel to vindicate
his rights under the law, and the Plaintiff is therefore entitled to an award of his

attorney-fees pursuant to 42 U.S.C. §1988.

COUNT IT
Violations of the Right to Freedom of the Press

51. The Plaintiff incorporates by reference the paragraphs set forth above, and alleges the
same as if originally set forth herein.

52. The First Amendment states, in relevant part: “Congress shall make no
law...abridging the freedom of speech, or of the press.”

53. The Fourteenth Amendment states, in relevant part: “[N]or shall any State deprive
any person of life, liberty, or property, without due process of law; nor deny to any
person within its jurisdiction the equal protection of the laws.”

54. As a Massachusetts resident, and as a man seeking political office, the Plaintiff had a
right to publish his opinion and information, particularly when he is addressing
matters of important public concern— including, but not limited to, election fraud.

55. By requesting that Twitter prevent the Plaintiff from publishing his comments

regarding the Massachusetts elections and the Secretary of the Commonwealth’s

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actions regarding vote counts, the Secretary of the Commonwealth sought to prevent
the Plaintiff's freedom of the press.

56. Pursuant to 42 U.S.C. §§1983 & 1988, the Plaintiff is entitled to judgment as the
Defendant violated his right to freedom of the press.

57. The Plaintiff found it necessary to engage the services of private counsel to vindicate
his rights under the law, and the Plaintiff is therefore entitled to an award of his
attorneys’ fees pursuant to 42 U.S.C. §1988.

COUNT Il
Violations of the Freedom to Petition the Government

58. The Plaintiff incorporates by reference the paragraphs set forth above, and alleges the
same as if originally set forth herein.

59. The First Amendment states, in relevant part: “Congress shall make no
law...abridging...the right of the people...to petition the Government for a redress of
grievances.”

60. The Fourteenth Amendment states, in relevant part: “[N]or shall any State deprive
any person of life, liberty, or property, without due process of law; nor deny to any
person within its jurisdiction the equal protection of the laws.”

61. “The right to petition is cut from the same cloth as the other guarantees of that
Amendment, and is an assurance of a particular freedom of expression.” McDonald v.

Smith, 472 U.S. 479, 482 (1985).

 

62. As a Massachusetts resident, and as a man seeking political office, the Plaintiff,
including his political supporters, had a Right to Petition the Government for a

Redress of Grievances—including, but not limited to, election fraud.

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63. As the Plaintiff was seeking to petition the government, the Defendant used covert
means by bidding Twitter to prevent the Plaintiff from exercising his constitutionally-
guaranteed rights.

64. Pursuant to 42 U.S.C. §§1983 & 1988, the Plaintiff is entitled to judgment as the
Defendant violated his constitutionally-guaranteed rights.

65. The Plaintiff found it necessary to engage the services of private counsel to vindicate
his rights under the law, and the Plaintiff is therefore entitled to an award of his

attorney-fees pursuant to 42 U.S.C. §1988.

COUNT IV
Violations of the Freedom to Peaceably Assemble

66. The Plaintiff incorporates by reference the paragraphs set forth above, and alleges the
same as if originally set forth herein.

67. The First Amendment states, in relevant part: “Congress shall make no
law...abridging...the right of the people peaceably to assemble.”

68. The Fourteenth Amendment states, in relevant part: “[N]or shall any State deprive
any person of life, liberty, or property, without due process of law; nor deny to any
person within its jurisdiction the equal protection of the laws.”

69. “[P]eaceable assembly for lawful discussion cannot be made a crime. The holding of
meetings for peaceable political action cannot be proscribed.” DeJonge v. Oregon,
299 U.S. 353, 365 (1937).

70. Preventing peaceful folks from congregating on public platforms—regardless of
whether such platforms are physical or virtual—is an abridgement of the Right to

Peaceably Assemble.

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71. The Defendant admittedly bid Twitter to silence the Plaintiff and his followers from
assembling online, which blocked the Plaintiff from speaking to his followers on the
platform.

72. This violation of the Right to Peaceably Assemble occurred during a campaign for the
U.S. Senate.

73. Pursuant to 42 U.S.C. §§1983 & 1988, the Plaintiff is entitled to judgment as the
Defendants violated his constitutionally-guaranteed rights.

74. The Plaintiff found it necessary to engage the services of private counsel to vindicate
his rights under the law, and the Plaintiff is therefore entitled to an award of his

attorney-fees pursuant to 42 U.S.C. §1988.

COUNT V

Violations of the Right to Freedom of the Press and Freedom of Speech Guaranteed

by Article 16 of the Declaration of Rights of the Massachusetts Constitution

75. The Plaintiff incorporates by reference the paragraphs set forth above, and alleges the
same as if originally set forth herein.

76. Article 16 of the Declaration of Rights of the Massachusetts Constitution states: “The
liberty of the press is essential to the security of freedom in a state: it ought not,
therefore, to be restrained in this commonwealth. The right of free speech shall not be
abridged.”

77. By requesting that Twitter suppress Dr. Ayyadurai’s published opinion, the
Commonwealth caused the violation of Dr. Ayyadurai’s rights under Article 16. As a

result of these violations, Dr. Ayyadurai was forced to retain counsel to vindicate his

rights.

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PRAYER FOR RELIEF
WHEREFORE, the Plaintiff demands that Judgment be entered against the
Defendant to compensate the Plaintiff for damages, and so that justice might be upheld as
the Defendant violated the Plaintiff's Constitutionally-Guaranteed Rights, applicable to
such parties, and order that the following damages be awarded:
a. Damages for Loss of Liberty;
b. Compensatory Damages;

Punitive Damages;

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Attorney’s fees;
Court costs;
Pre- and post-judgment interest;

Injunctive relief; or

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Any such other relief as this Honorable Court might deem appropriate and
equitable.

Temporary Restraining Order

In addition to the relief requested above, the Plaintiff requests that this Court issue
a Temporary Restraining Order, restraining the Defendant from again bidding Twitter to
remove, ban, or otherwise silence the Plaintiff at least until the results of the race for the
U.S. Senate are announced—likely by November 4, 2020, the day after election day.

A restraining order is necessary because:

- The Plaintiff has a substantial likelihood of success on the merits of the case,
since the Office of the Secretary of the Commonwealth has admitted it
silenced the Plaintiff.

- Absent an injunction, the Plaintiff would suffer an irremediable loss of rights
during his campaign for the U.S. Senate. While the Plaintiff has already lost
essential time and means to campaign during his race for the 2020 U.S. Senate

seat, the Plaintiff would incur even more losses if the Defendant were

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permitted to continue to violate the Plaintiff's constitutionally-guaranteed
rights; and

- Granting this restraining order will serve the public interest, as it will preserve
the public’s ability to hear political speech and consider a public petition.

- Granting this restraining order will no prejudice the Defendant—as no harm
may come to the government being preventing from silencing peaceful

political speech.

JURY TRIAL DEMAND
THE PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS.

The Plaintiff,
By His Attorney:

Dated: October 20, 2020 /s/ Daniel Casieri
Daniel Casieri, BBO No. 697693
The Law Office of Daniel Casieri, Esq.
19 Court Street, Unit 3D
Plymouth, MA 02360
Telephone: 508.400.0774
Email: danielcasierilaw@gmail.com

VERIFICATION
I, Dr. Shiva Ayyadurai, hereby attest under the penalties of perjury that the
allegations as presented in this Verified Complaint are accurate to the best of my
understanding and recollection.

Dated: October 20, 2020 /s/ Dr. Shiva Ayyadurai
Dr. Shiva Ayyadurai

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